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                        UNITED STATES DISTRICT COURT
                                              for the
                                  District of Massachusetts


 JOSE MARIA DECASTRO, an individual               ) Case No. 1:22-cv-11421
                                                  )
 Plaintiff,                                       )
                                                  )
 v.                                               )
                                                  )
 JOSHUA ABRAMS, an individual, et al.,            )
                                                  )
 Defendants.                                      )
 ____________________________________

          PLAINTIFF’S MOTION FOR A CERTIFICATE OF APPEALABILITY


      Plaintiff Jose DeCastro (“Plaintiff” or “I”), hereby respectfully moves this Honorable Court

to issue a certificate of appealability under 28 U.S.C. § 1292(b) as to five particularly vexing

questions on which the outcome of the court’s orders depended.

      In support of this motion, Plaintiff submits a memorandum of law, which is fully

incorporated herein.


Dated: December 7, 2022                           Respectfully submitted,

                                                  /s/ Jose DeCastro
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